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                                                     CERTIFICATE OF SERVICE
             , Matthew B. McGuire , do hereby certify, under penalty of perjury, that I am not less

than 18 years of age and that service of                 The Stipulation Extending The Deadline For Production

Of Alternative Accounting Pursuant To The Order Granting

Bankruptcy Code Sections                   05 (a),    361 , 362     And
Procedures For Resolving Certain Claims                       was made on July 20 , 2007 upon the parties listed

below in the manner indicated. Under penalty of perjury, I

correct.

Hand Delivery                                                     Hand Delivery

Office of the United States Trustee                               Mark D. Collins (No. 2981)
844 King Street , Room 2207                                       Michael J. Merchant (No. 3854)
Lockbox #35                                                       Christopher Samis (No. 4909)
Wilmington , DE 19899- 0035                                       Richards Layton & Finger , P.
                                                                  One Rodney Square
                                                                  920 N. King Street
                                                                  Wilmington , DE 19801


   s. First Class Mail
Ben H. Logan , Esquire
Suzzanne Uhland , Esquire
Victoria A. Newmark , Esquire
Emily R. Culler , Esquire
  Melveny & Myers LLP
275 Battery Street
San Francisco , CA 94111




Dated: July 20 , 2007
                                                                       Matthew B. McGuire (No. 4366)




NCJPMorgan Stip
